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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                           Case No. 15-20403-CR-DIMITROULEAS


  UNITED STATES OF AMERICA

  vs.

  OSCAR DAVID PULGARIN-GANAN,

         Defendant.
                                       /


            SECOND, JOINT MOTION FOR REDUCTION OF SENTENCE
         PURSUANT TO RULE 35(b) OF THE FEDERAL RULES OF CRIMINAL
        PROCEDURE AND TITLE 18, UNITED STATES CODE, SECTION 3553(e)


         Pursuant to Rule 35(b) of the Federal Rules of Criminal Procedure and Title 18, United

  States Code, Section 3553(e), the United States of America hereby moves for a SECOND

  downward departure to time served from the remaining sentence of defendant OSCAR DAVID

  PULGARIN-GANAN (“PULGARIN”), in order to reflect his substantial assistance in the

  prosecution and conviction of Luis Diever Duran-Caicedo (“Duran-Caicedo”), who was

  prosecuted in the Northern District of Georgia (Atlanta).     In support of this motion, the

  government states the following:

  I.     BACKGROUND

         1.     PULGARIN was charged with participating in an international cocaine distribution

  and importation conspiracy, in violation of Title 21, United States Code, Section 963. He was

  sentenced on March 17, 2016, to 240 months’ incarceration. Thereafter the government filed a

  motion for reduction under Rule 35(b) and the Court reduced the sentence to 96 months’


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  incarceration. He is presently scheduled to be released in May 2022.

         2.      As the Court is aware from the Presentence Investigation Report (“PSI”) and the

  Factual Proffer filed as part of the plea in this case, PULGARIN was a large-scale Colombian

  trafficker who partnered with other co-conspirators to ship cocaine from Colombia to Central

  America and Mexico. In that role, PULGARIN invested in the loads, re-sold them to Central

  American and Mexican purchasers, and coordinated the shipment of the drugs north from

  Colombia. As in the government’s original motion under Rule 35(b), as part of his trial testimony,

  PULGARIN admitted to trafficking over 25 tons of cocaine. Most of the cocaine was ultimately

  imported into the United States after the loads reached Central America and Mexico.

  II.    THE DEFENDANT’S ADDITIONAL COOPERATION

         3.      After PULGARIN was sentenced on the original Rule 35 motion, prosecutors and

  agents from Atlanta reached out to our District to inquire about witnesses who could help with

  several defendants that were being prosecuted in Atlanta. With our assistance, the Atlanta

  prosecutors and agents interviewed various cooperating witnesses in our District and determined

  that PULGARIN could assist them in the prosecution of Duran-Caicedo.

         4.      Duran-Caicedo was a transportation coordinator and re-seller of cocaine who

  operated from a base in Panama that connected cocaine being transported from Colombia to

  Central America, with ultimate importation to the U.S. He entered a guilty plea in September

  2019, to conspiracy to distribute cocaine, knowing and intending that it would be imported into

  the United States, between November 2015 and September 2016.             However, while Duran-

  Caicedo admitted his guilt, he minimized his role and involvement in the trafficking. Heading

  into sentencing, Duran-Caicedo contended that his base offense level under the United States

  Sentencing Guidelines (“Guidelines”) was 32.

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         5.      After PULGARIN was interviewed, he was transferred to Atlanta in the

  anticipation of testifying at a sentencing hearing for Duran-Caicedo. As preparation for that

  testimony, PULGARIN’s Jencks Act materials, including his testimony from the Mejia-Duarte

  trial and reports from his interviews regarding Duran-Caicedo, were provided to the defense. In

  those interview reports, PULGARIN explained the general operations of receiving the boats of

  cocaine arriving from Colombia on the Eastern coast of Panama, briefly storing the cocaine, and

  the cocaine then moving northward through Central America and ultimately to the United States,

  as well as Duran-Caicedo’s role in those operations.

         6.      Shortly before the sentencing date and having reviewed PULGARIN’s Jencks Act

  materials, Duran-Caicedo conceded that his base offense level was 38 and in turn he received a 3-

  level upward role adjustment. As a result, the final Guidelines range for Duran-Caicedo as

  calculated by the Court was 235 to 293 months. The government recommended a sentence of 151

  months as called for in the plea agreement, and the Court sentenced Duran-Caicedo to 108 months

  of imprisonment.

         7.      The government respectfully submits that PULGARIN should be credited with

  assisting in the U.S. prosecution of Duran-Caicedo.

  III.   CONCLUSION AND PARTIES’ POSITION

         8.      The government is prepared to further elaborate on the nature and quality of this

  assistance at a hearing on the motion, if the Court so desires. However, the parties are in




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  agreement that PULGARIN’s substantial assistance merits a sentence reduction and that

  PULGARIN’s sentence should be reduced to time served. If the Court is in agreement as well,

  there is no need for a hearing.

                                                     Respectfully submitted,

                                                     JUAN ANTONIO GONZALEZ
                                                     ACTING UNITED STATES ATTORNEY

                                               By:     /s/
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                                    CERTIFICATE OF SERVICE

         I hereby certify that on October 20, 2021, the undersigned filed the foregoing document
  with the Clerk of the Court by ECF and served a copy upon defense counsel of record via email.
                                                  /s/
                                             Walter M. Norkin
                                             Assistant United States Attorney




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